     Case 5:21-cr-00009-LGW-BWC          Document 1085        Filed 07/19/24     Page 1 of 4




                            UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF GEORGIA

                                   WAYCROSS DIVISION

UNITED STATES OF AMERICA                    )
                                            ) Docket No.: 5:21Cr9-2

V.                                          )

DANIEL MENDOZA,                             )

                                            )

               Defendant.                   )

                              SENTENCING MEMORANDUM

COMES NOW the Defendant Daniel Mendoza [hereinafter Mr. Mendoza], by and through

his counsel of record, Kimberly L. Copeland, and submits this Sentencing Memorandum for the

Honorable Court’s consideration at sentencing, which is scheduled to be heard on July 28, 2024,

before the Honorable Lisa Godbey Wood.

        Daniel Mendoza was charged as outlined in ¶ 1-5 of his Presentence Investigation Report.

Mr. Mendoza was named in Counts 1,8, and 53 of the indictment. Count 1 charges mail fraud,

count 8 charges conspiracy to engaged in force labor, and Count 53 charges conspiracy to

launder money.

        On November 17, 2021, Mr. Mendoza was arrested by federal authorities in the Middle

District of Florida on a warrant based on the instant indictment. Mr. Mendoza made his initial

appearance, before the Honorable Elizabeth A. Jenkins, United States Magistrate Judge in the

Middle District of Florida. At the conclusion of the hearing Mr. Mendoza was ordered detained

pending a detention hearing in the Southern District of Georgia. On January 6, 2022, Mr.

Mendoza appeared in the Southern District of Georgia for arraignment on this indictment before
  Case 5:21-cr-00009-LGW-BWC              Document 1085         Filed 07/19/24      Page 2 of 4




the Honorable Benjamin W. Cheesbro, United Magistrate Judge. Mr. Mendoza after the

conclusion of the arraignment hearing, Mr. Mendoza was granted an unsured bond in the amount

$50,000.00 and was released to pretrial supervision. Mr. Mendoza has been allowed to remain

out on bond with only one change to the condition of release to allow him to have contact with

his mother and co-defendant Maria Leticia Patricio. (See release orders doc. 268 and 578) On

February 27, 2024, Mr. Mendoza appeared along with his attorney of record in the Southern

District of Georgia before the Honorable Lisa Godbey Wood and enter his plea of guilty to count

1 of the indictment.

       Mr. Mendoza had no objections to the Presentence Investigation Report prepared by the

United States Probation office including his criminal history category or the offense level

calculation as set forth in his Presentence Investigation Report. Based upon his criminal history

and the offense conduct in this case, Mr. Mendoza has Criminal History Category II. Mr.

Mendoza total offense level for the crime in this case, along with all relevant conduct is 5.

Pursuant to the United States Sentencing Guidelines, the guideline range applicable is for 0-6

months imprisonment. Mr. Mendoza does not raise any objections to the calculation or

application of the Sentencing Guidelines in his case.

       On May 22, 2024, the United States Probation Office recommended to this Court that Mr.

Mendoza be sentenced to three years on probation and restitution in the amount of $86,787.24 to

be paid jointly and severally with his co-conspirators.

       Mr. Mendoza prays that this Court follows the recommendation that he be sentenced to

three years on probation, which is reasonable under the circumstances. Counsel for Mr.

Mendoza points out that Mr. Mendoza was detained for almost two months before he was

released on pre-trial supervision. Mr. Mendoza has been on pre-trial supervision for over two
  Case 5:21-cr-00009-LGW-BWC              Document 1085         Filed 07/19/24      Page 3 of 4




years because of the complexity of this case, and he has not violated any of the terms of his pre-

trial supervision. Which demonstrates that probation is appropriate in this case.

       Considering the factors in 18 U.S.C. Section 3553(a), the Court is respectfully requested

to follow the recommendations of the United Probation Office and Mr. Mendoza substantial

acceptance of responsibility. Therefore, sentencing Mr. Mendoza to three years of probation

along with requisite sentencing conditions as outlined by Probation.

       This 19th Day of July 2024.



                                      Respectfully Submitted,

                                      KIMBERLY L. COPELAND & ASSOCIATES, LLC
                                      /S/ Kimberly L. Copeland

                                      Kimberly L. Copeland

                                      GA. Bar Number

                                      Attorney for Daniel Mendoza

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     Case 5:21-cr-00009-LGW-BWC             Document 1085         Filed 07/19/24     Page 4 of 4




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DANIEL MENDOZA,                                )

                                               )

               Defendant.                      )

                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day electronically filed the foregoing Sentencing

Memorandum with the Clerk of Court using the CM/ECF system which will automatically send

email notifications of such filing to all counsel of record in this matter.

        Respectfully submitted this 19th day of July, 2024.



                                       KIMBERLY L. COPELAND & ASSOCIATES, LLC

                                       /S/ Kimberly L. Copeland
                                       Kimberly L. Copeland

                                       GA. Bar Number

                                       Attorney for Daniel Mendoza

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